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The Honorable Katherine B. Forest
United States District Judge
Southern District Of New York
U.S. Courthouse, 500 Pearl St.
New York, N.Y. 10007

May 21, 2015
Dear Judge Forest;

My name is Michael Satterfield. I am a former writer/director of films. I am currently an
electrical contractor. I have known Mr. Ross Ulbricht for approximately 15 months. During that
time he and I developed a friendship. We shared a cell at MDC and spent 24 hours, 7 days a
week for several months. During that time Ross consistently exhibited a peaceful and positive
demeanor. He spent his days sharing positive thoughts with the other inmates. Ross also
encouraged them to find peaceful ways to resolve their differences.

With the permission of detention staff, he also began teaching yoga and meditation to the general
population, inviting anyone to join in. He was always respectful, compliant, and he had the
foresight to understand and empathize with the difficult duties of the staff. He always chose the
moral high ground in every situation regardless of the personal hardship that it caused him
personally. His level of empathy is extraordinary. On many occasions he expressed his extreme
dislike for violence on any level. He possesses great strength of character and he a calm soft
spoken manner. Furthermore, he consistently committed acts of unusual kindness towards others.

I understand that he has been convicted of criminal acts. However, it is with great respect to the _
justice system that I request of the court that consideration be given to Ross. My request is based
on his nonviolent nature and the positive Impact he would have on society if he were to be
allowed to return at some point that would give him the opportunity to have a meaningful life. I
also feel that he would have a strong, positive impact on society as a whole. His conviction in the
court does not reflect the character of the man that I’ve come to know and admire.

I do thank you for taking the time to read this letter. I hope that it has been helpful to this
honorable court of which I have the pleasure to address.

Sincerely, Haha dS of Lette Lilia

Michael Satterfield
